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                                   1                                   UNITED STATES DISTRICT COURT

                                   2                                  NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4     LENA EVANS, et al.,                               Case No. 22-cv-00248-MMC
                                                        Plaintiffs,                        ORDER REASSIGNING CASE
                                   5
                                                 v.
                                   6

                                   7     PAYPAL, INC.,
                                                        Defendant.
                                   8

                                   9

                                  10          IT IS ORDERED that this case is reassigned to the Honorable Beth Labson Freeman in

                                  11   the SAN JOSE division for all further proceedings. Counsel is instructed that all future filings

                                  12   shall bear the initials BLF immediately after the case number.
Northern District of California
 United States District Court




                                  13          All hearing and trial dates presently scheduled are vacated. However, existing briefing

                                  14   schedules for motions remain unchanged. Motions must be renoticed for hearing before the judge

                                  15   to whom the case has been reassigned, but the renoticing of the hearing does not affect the prior

                                  16   briefing schedule. Other deadlines such as those for ADR compliance and discovery cutoff also

                                  17   remain unchanged.

                                  18   Dated: February 14, 2022

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                                                                                        Mark B. Busby
                                  21                                                    Clerk, United States District Court
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                                  24   A true and correct copy of this order has been served by mail upon any pro se parties.
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